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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

DANIEL A. BERNATH,

           Plaintiff,

v.                                  Case No: 2:16-cv-40-FtM-29CM

DON SHIPLEY and CAROL DIANE
BLAZER SHIPLEY,

           Defendants.


                           OPINION AND ORDER

     This matter comes before the Court on defendants' Motion to

Dismiss Complaint for Failure to State a Cause of Action and Lack

of Personal Jurisdiction, or Alternatively, Motion to Transfer

Venue (Doc. #33) filed on July 25, 2016.             Plaintiff filed an

Opposition to Motion to Dismiss, Motion to Conduct Discovery Re

Jurisdiction of Defendants, Motion to continue hearing/decision

until after Discovery on Jurisdiction (Doc. #39), and defendants

filed a Response in Opposition to Plaintiff’s Motion to Conduct

Jurisdictional Discovery (Doc. #42).

     The Court concludes that the Complaint is insufficiently

pled, and must be dismissed without prejudice and with leave to

file an amended complaint.       In the amended complaint, plaintiff

may make additional allegations regarding personal jurisdiction.
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Defendants may thereafter respond to the amended complaint by

motion or answer.

                                         I.

       Under Federal Rule of Civil Procedure 8(a)(2), a Complaint

must contain a “short and plain statement of the claim showing

that the pleader is entitled to relief.”            Fed. R. Civ. P. 8(a)(2).

This obligation “requires more than labels and conclusions, and a

formulaic recitation of the elements of a cause of action will not

do.”     Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)

(citation omitted).       To survive dismissal, the factual allegations

must be “plausible” and “must be enough to raise a right to relief

above the speculative level.”            Id. at 555.          See also Edwards v.

Prime Inc., 602 F.3d 1276, 1291 (11th Cir. 2010).                   This requires

“more    than     an   unadorned,        the-defendant-unlawfully-harmed-me

accusation.”           Ashcroft     v.     Iqbal,       556     U.S.   662,   678

(2009)(citations omitted).

       In deciding a Rule 12(b)(6) motion to dismiss, the Court must

accept all factual allegations in a complaint as true and take

them in the light most favorable to plaintiff, Erickson v. Pardus,

551 U.S. 89 (2007), but “[l]egal conclusions without adequate

factual support are entitled to no assumption of truth,”                   Mamani

v.   Berzain,    654   F.3d   1148,      1153   (11th    Cir.     2011)(citations

omitted).       “Threadbare recitals of the elements of a cause of




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action, supported by mere conclusory statements, do not suffice.”

Iqbal, 556 U.S. at 678.           “Factual allegations that are merely

consistent     with   a   defendant’s    liability     fall        short   of    being

facially plausible.”        Chaparro v. Carnival Corp., 693 F.3d 1333,

1337   (11th   Cir.     2012)   (citations     omitted).       Thus,       the   Court

engages in a two-step approach: “When there are well-pleaded

factual allegations, a court should assume their veracity and then

determine whether they plausibly give rise to an entitlement to

relief.”    Iqbal, 556 U.S. at 679.

                                        II.

       The Complaint (Doc. #1) alleges federal question jurisdiction

based on copyright infringement “under the copyright laws of the

United States, 17 U.S.C. § 101 et seq” 1, and asserts personal

jurisdiction     over     defendants    based    on   their    “systematic         and

continuous business in Florida”, because they have 1,000 contacts

in Fort Myers, Florida, because defendants barricaded plaintiff in

his local home, and because defendants admit to publishing a

copyright-protected        photograph    of    plaintiff      in    the    State   of




       1
       “The district courts shall have original jurisdiction of
all civil actions arising under the Constitution, laws, or treaties
of the United States.” 28 U.S.C. § 1331. Also, “district courts
shall have original jurisdiction of any civil action arising under
any Act of Congress relating to patents, plant variety protection,
copyrights and trademarks.” 28 U.S.C. § 1338(a).




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Florida.    (Doc. #1, ¶ 10.)     Plaintiff alleges that a substantial

part of the acts of infringement complained of occurred in this

District.        Plaintiff   asserts   that   he    has   registered   and

copyrighted a photograph of himself 2, and that defendants infringed

his work by publishing the photograph.        Plaintiff further alleges

that he is the owner of the trademarks Extreme Seal Experience and

Phony Seal of the Week (the marks), and that defendants have used

these    marks   to   realize   revenue   causing    plaintiff    damages.

Plaintiff seeks to disgorge these profits.          Plaintiff identifies

a “First Cause of Action” as copyright and trademark infringement,

and a “Second Cause of Action” as trade disparagement without

providing any supporting facts or allegations in support of the

claims. 3   Plaintiff goes on to state the relief sought, including

injunctive relief, and cites to the Federal Copyright Act, but

does not cite to the Federal Trademark Act or the Lanham Act.

                                   III.

     “To make out a prima facie case of copyright infringement, a

plaintiff must show that (1) it owns a valid copyright in the work

and (2) defendants copied protected elements from the work.”


     2 The Court notes that there are several pictures attached to
the Complaint, and it is unclear which picture is registered, and
which ones were created or published by defendants.
     3 In fact, the Complaint only alleges the titles of the causes
of action.




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Smith v. Casey, 741 F.3d 1236, 1241 (11th Cir. 2014).               See 17

U.S.C. § 504 (remedies).    A prerequisite to a claim of infringement

requires that the work be preregistered or registered.          17 U.S.C.

§ 411(a).     Plaintiff asserts that he has registered and owns the

photograph at issue, and that defendants published it without

permission.

      To present a claim for trademark infringement, plaintiff must

show “(1) that it had trademark rights in the mark or name at issue

and (2) that the other party had adopted a mark or name that was

the same, or confusingly similar to its mark, such that consumers

were likely to confuse the two.”      Suntree Techs., Inc. v. Ecosense

Int’l, Inc., 693 F.3d 1338, 1346 (11th Cir. 2012).          See 15 U.S.C.

§§ 1114, 1117.   Much like with the copyright claim, there must be a

registered mark.       15 U.S.C. § 1115.        Plaintiff has made no

allegations of a similar or confusingly similar mark, rather the

allegation is that defendants used or misappropriated plaintiff’s

marks for their own use and profit.

      To assert a claim of false designation under the Lanham Act 4,

plaintiff must show: “(1) that the plaintiff had enforceable


      4It remains unclear whether “trade disparagement” is actually
a false designation claim. Under the Anticybersquatting Consumer
Protection Act, disparaging a mark is simply a factor used to
determine bad faith intent to profit from use of a confusingly
similar domain name.     15 U.S.C. § 1125(d).     See also Bavaro
Palace, S.A. v. Vacation Tours, Inc., 203 F. App'x 252, 256 (11th




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trademark rights in the mark or name, and (2) that the defendant

made unauthorized use of it “such that consumers were likely to

confuse the two.”       Custom Mfg. & Eng'g, Inc. v. Midway Servs.,

Inc., 508 F.3d 641, 647 (11th Cir. 2007).       See 15 U.S.C. § 1125(a).

As   part   of   the   elements,   plaintiff   must   show   “economic   or

reputational injury flowing directly from the deception. . . .”

Lexmark Int'l, Inc. v. Static Control Components, Inc., 134 S. Ct.

1377, 1391 (2014).

      Although plaintiff has alluded to certain federal statutes,

plaintiff has not clearly stated a plausible claim under either of

the Causes of Action in compliance with Federal Rules of Civil

Procedure 8 and 10.        The Complaint will be dismissed without

prejudice to amending the pleading.        As a result, the Court will

defer the issues of personal jurisdiction and venue.

      Accordingly, it is hereby

      ORDERED:

      1. Defendants' Motion to Dismiss Complaint for Failure to

        State a Cause of Action and Lack of Personal Jurisdiction,

        or Alternatively, Motion to Transfer Venue (Doc. #33) is

        GRANTED IN PART AND DENIED AS MOOT IN PART.          The motion to




Cir. 2006). There are no allegations of a registered domain name
in this case.




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         dismiss is granted and the Complaint is dismissed without

         prejudice to filing an Amended Complaint within FOURTEEN

         (14) DAYS of this Opinion and Order.             The motion is

         otherwise denied as premature with regard to the issue of

         personal jurisdiction or to transfer venue 5 pending the

         filing of an Amended Complaint.

     2. Plaintiff’s Motion to Conduct Discovery Re Jurisdiction of

         Defendants,   Motion   to   continue   hearing/decision     until

         after Discovery on Jurisdiction (Doc. #39) is DENIED as

         moot and without prejudice.

     DONE and ORDERED at Fort Myers, Florida, this           6th    day of

December, 2016.




Copies:
Parties of Record




     5 The Court notes that the Complaint in this case is
strikingly similar to the First Amended Complaint filed by
plaintiff against these same defendants, and Extreme Seal
Experience LLC, in the Eastern District of Virginia, Norfolk
Division. See Bernath v. Extreme Seal Experience LLC, 2:16-cv-
00185-RGD-RJK (E.D. Va. July 25, 2016).   Defendants have also
argued that the same litigation is pending in Maryland.  (Doc.
#33, p. 2.)




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